                      Case 2:18-mj-11081-VRG Document 1 Filed 11/27/18 Page 1 of 3
AO 442 (REV. 12/85)




                              UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                   §
                                                           § CRIMINAL COMPLAINT
vs.                                                        § CASE NUMBER: DR:18-M -11081(1)
                                                           §
(1) Carlos Reiniery Cruz Ramirez                           §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about November 19, 2018 in Maverick county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, (track statutory language of offense) knowingly and willfully enter the

United States at a time and place other than as designated by Immigration Officers, he/she being an alien in

the United States in violation of Title 8 United States Code, Section(s) 1325(a)(1).



                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On November 20, 2018, the defendant, Carlos Reiniery CRUZ RAMIREZ, a native and citizen of

Honduras, was arrested near Carrizo Springs, Texas. Subsequent investigation revealed that the defendant is

an alien illegally present in the United States. The Defendant last entered the United States illegally from the

Republic of Mexico by crossing the Rio Grande River at a time and place other than as designated by

Immigration Officers, near Eagle Pass, Texas."


Continued on the attached sheet and made a part of hereof:                                       Yes   X No




Sworn to before me and subscribed in my presence,
                                                                          Signature of Complainant

11/26/2018                                                           at   DEL RIO, Texas
File Date                                                                 City and State




VICTOR ROBERTO GARCIA                                                     ______________________________
UNITED STATES MAGISTRATE JUDGE                                            Signature of Judicial Officer
                            Case 2:18-mj-11081-VRG Document 1 Filed 11/27/18 Page 2 of 3
AO 245H (Rev. 07/04)(W.D.TX) - Judgement in a Criminal Case for a Petty Offense (Short Form)




                                        UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                                              §
                                                                                      § CRIMINAL COMPLAINT
vs.                                                                                   § CASE NUMBER: DR:18-M -11081(1)
                                                                                      §
(1) Carlos Reiniery Cruz Ramirez                                                      §

                                                         JUDGEMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                 The defendant, Carlos Reiniery Cruz Ramirez, was presented by counsel, Diana S. Aguilar.

          The defendant pled guilty to the complaint on November 27, 2018. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                            Nature of Offense                                                Date of Offense

8 USC 1325                                 ILLEGAL ENTRY                                                    November 19, 2018


           As pronounced on November 27, 2018, the defendant is hereby commited to the custody of the
United States Bureau of Prisons for a term of Time Served. The sentence is imposed to the Sentencing Reform
Act of 1984.

           The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remited pursuant to
18 U.S.C. § 3573 because of reasonable efforts to collect this assessment are not likely to be effective.

                 The fine is waived because of the defendant's inability to pay.

           It is further ordered that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this Judgement are fully paid.

                 Filed and Signed on this the 27th day of November, 2018.




                                                                                                 ______________________________
                                                                                                 VICTOR ROBERTO GARCIA
                                                                                                 UNITED STATES MAGISTRATE JUDGE




Arresting Agency: DRBP - Del Rio Border Patrol
USM#: 20839-480
                    Case 2:18-mj-11081-VRG Document 1 Filed 11/27/18 Page 3 of 3
                                   UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF TEXAS
                                          DEL RIO DIVISION

United States of America                            §
                                                    §            Case Number:
vs.                                                 §            DR:18-M -11081(1)
                                                    §
(1) Carlos Reiniery Cruz Ramirez                    §



                                         ORDER APPOINTING COUNSEL


     The above named Defendant has testified under oath, or has otherwise satisfied this court, that he/she is
financially unable to obtain counsel and does not wish to waive representation by counsel.

    Therefore, in the interest of justice, Aguilar, Diana S., is hereby appointed to represent the defendant in the
above-styled and numbered cause.

      This appointment shall remain in effect until further order of this court.


      It is so ORDERED this 26th day of November, 2018.


                                                 ______________________________
                                                 VICTOR ROBERTO GARCIA
                                                 UNITED STATES MAGISTRATE JUDGE
